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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:20-cv-03747-NRN

  KEVIN O’ROURKE, NATHANIEL L.
  CARTER, LORI CUTUNILLI, LARRY D.
  COOK, ALVIN CRISWELL, KESHA
  CRENSHAW, NEIL YARBROUGH, and
  AMIE TRAPP,

               Plaintiffs, on their own behalf
               and of a class of similarly
               situated persons,

        v.

  DOMINION VOTING SYSTEMS, INC., a
  Delaware corporation, FACEBOOK, INC., a
  Delaware corporation, CENTER FOR TECH
  AND CIVIC LIFE, an Illinois non-profit
  organization, MARK E. ZUCKERBERG,
  individually, PRISCILLA CHAN,
  individually, BRIAN KEMP, individually,
  BRAD RAFFENSPERGER, individually,
  GRETCHEN WHITMER, individually,
  JOCELYN BENSON, individually, TOM
  WOLF, individually, KATHY BOOCKVAR,
  individually, TONY EVERS, individually,
  ANN S. JACOBS, individually, MARK L.
  THOMSEN, individually, MARGE
  BOSTELMAN, individually, JULIE M.
  GLANCEY, DEAN KNUDSON,
  individually, ROBERT F. SPINDELL, Jr.,
  individually, and DOES 1-10,000,

               Defendants.

                             AFFIDAVIT OF JOSHUA MATZ
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         I, Joshua Matz, on this 3rd day of September, 2021, pursuant to 28 U.S.C. § 1746, declare

  as follows:

         1.      I am a Partner at the law firm Kaplan, Hecker & Fink LLP (“KHF”), the law firm

  representing Defendant Center for Tech and Civic Life (“CTCL”) in this action.

         2.      I submit this Affidavit in support of CTCL’s brief concerning its request for a

  reasonable sanctions award. See ECF 136. Except to the extent otherwise expressly indicated, I

  have personal knowledge of the matters set forth in this Affidavit.

         3.      I am a member in good standing of the District of Columbia and New York State

  Bars. I am also admitted to appear before the U.S. District Court for the District of Colorado; the

  U.S. Supreme Court; the U.S. Courts of Appeals for the District of Columbia, Second, Third,

  Fourth, Fifth, Seventh, Ninth, and Tenth Circuits; and the U.S. District Courts for the Southern

  and Eastern Districts of New York, the District of Columbia, the Western District of Michigan,

  and the Eastern District of Wisconsin.

         4.      I have held the position of Partner at KHF since February 2020, with a leave of

  absence from the firm in January and February 2021 to serve as Impeachment Counsel to the

  House of Representatives for the second impeachment trial of former President Donald J. Trump.

  I previously served as “Of Counsel” (September 2017 to May 2019) and “Counsel” (May 2019 to

  October 2019) at KHF, and as Counsel to the House Judiciary Committee during the first

  impeachment of President Trump. I have litigated a wide range of cases involving civil rights,

  constitutional law, and commercial disputes, and have litigated at every level of the federal courts.

  I have represented individuals, companies, nonprofits, civil rights groups, cities, states, and

  congressional committees. I have authored numerous publications on constitutional law, including

  two books with Professor Laurence H. Tribe. I graduated magna cum laude from Harvard Law
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  School in 2012. After law school, I served as a law clerk to Judge J. Paul Oetken of the U.S.

  District Court for the Southern District of New York, Judge Stephen Reinhardt of the U.S. Court

  of Appeals for the Ninth Circuit, and Justice Anthony Kennedy of the U.S. Supreme Court. A true

  and correct copy of my biography from the KHF website is attached hereto as Exhibit 1.

         5.      Louis W. Fisher has been an associate at KHF since October 2019. His practice

  includes a wide variety of civil rights, class action, and complex commercial litigation matters.

  Prior to joining KHF, Mr. Fisher worked for the NAACP Legal Defense and Educational Fund,

  Inc., where he worked on high-impact civil rights litigation. He also clerked for Judge J. Paul

  Oetken of the U.S. District Court for the Southern District of New York and Judge Stephen

  Reinhardt of the U.S. Court of Appeals for the Ninth Circuit. Mr. Fisher graduated magna cum

  laude from Harvard Law School, where he was the Executive Managing Editor of the Harvard

  Civil Rights-Civil Liberties Law Review. A true and correct copy of Mr. Fisher’s biography from

  the KHF website is attached hereto as Exhibit 2.

         6.      Marcella Coburn has been an associate at KHF since August 2020. Her practice

  focuses on commercial and public interest litigation at the trial and appellate level. Prior to joining

  KHF, Ms. Coburn was a supervising attorney and clinical teaching fellow at the Georgetown

  University Law Center Appellate Litigation Clinic. Prior to her work at the clinic, she clerked for

  Judge Pamela Harris of the U.S. Court of Appeals for the Fourth Circuit and Judge David Bunning

  of the U.S. District Court for the Eastern District of Kentucky. Ms. Coburn graduated from Yale

  Law School, where she was a comments editor and research editor for the Yale Law Journal. A

  true and correct copy of Ms. Coburn’s biography from the KHF website is attached hereto as

  Exhibit 3.
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         7.      Michael Skocpol was an associate at KHF from December 2019 until August 2021.

  Prior to joining KHF, Mr. Skocpol clerked for Justice Sonia Sotomayor of the U.S. Supreme Court,

  as well as for Judge Cornelia T.L. Pillard of the U.S. Court of Appeals for the District of Columbia

  Circuit and Judge Gary S. Feinerman of the U.S. District Court for the Northern District of Illinois.

  He is a graduate of Stanford Law School, where he served as an editor of the Stanford Law Review

  and the Stanford Journal of Civil Rights and Civil Liberties. A true and correct copy of Mr.

  Skocpol’s archived biography from the KHF website is attached hereto as Exhibit 4.

         8.      Molly Webster has been an associate at KHF since November 2020. Previously,

  Ms. Webster worked for Quinn Emanuel Urquhart & Sullivan, LLP, where her practice included

  work on complex commercial and civil litigation as well as constitutional law matters. She clerked

  for Judge Cathy Seibel of the U.S. District Court for the Southern District of New York. Ms.

  Webster graduated magna cum laude from the Fordham University School of Law, where she was

  inducted into the Order of the Coif and was an associate editor of the Fordham Law Review. A

  true and correct copy of Ms. Webster’s biography from the KHF website is attached hereto as

  Exhibit 5.

         9.      Lindsey Beckelman was a case manager at KHF from September 2018 until April

  2021. Prior to departing from KHF, Ms. Beckelman was the Director of Case Management at the

  firm. She performed paralegal services in the above-captioned matter from its inception until April

  2021. Ms. Beckelman graduated from Ithaca College in 2007. A true and correct copy of Ms.

  Beckelman’s archived biography from the KHF website is attached hereto as Exhibit 6.

         10.     Oliver Farnum has been a case manager at KHF since July 2019. He has

  occasionally performed paralegal services in the above-captioned matter as necessary to fill in for
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  Ms. Beckelman. Mr. Farnum graduated from Bates College in 2019. A true and correct copy of

  Mr. Farnum’s biography from the KHF website is attached hereto as Exhibit 7.

         11.     I was the lead attorney who supervised all work on CTCL’s Motion to Dismiss

  (ECF 41, 81) and Opposition to Plaintiff’s Motion for Leave to File an Amended Complaint (ECF

  62) (collectively, the “Relevant Motions”). I worked primarily with three associates: Louis W.

  Fisher, Marcella Coburn, and Michael Skocpol, and one paralegal, Lindsey Beckelman, who

  assisted me on all aspects of the Relevant Motions. KHF associate Molly Webster and paralegal

  Oliver Farnum assisted with discrete tasks related to the filing of the Relevant Motions.

         12.     I have attached a document as Exhibit 8 to this Affidavit that details KHF’s request

  for reasonable fees and expenses associated with its work on the Relevant Motions. Pursuant to

  the Court’s order, ECF 136 at 66-67, I provided this document to Plaintiffs’ counsel via email on

  August 17, 2021. See ECF 146.

         13.     Exhibit 8 reflects an accurate accounting, based on contemporaneous records, of

  the time Mr. Fisher, Ms. Coburn, Mr. Skocpol, Ms. Webster, Ms. Beckelman, Mr. Farnum, and I

  spent performing legal and paralegal services in connection with the Relevant Motions. The total

  number of hours reflected in Exhibit 8 is 313.4.

         14.     Exhibit 8 also reflects an accurate accounting, based on contemporaneous records,

  of the Westlaw electronic research expenses that we incurred in connection with the Relevant

  Motions.

         15.     Exhibit 8 was created using entries for this litigation in KHF’s electronic invoicing

  system from the months of February through April 2021. Mr. Fisher, Ms. Coburn, and I reviewed

  the entries and removed any hours that were not dedicated to the Relevant Motions. We replaced

  any abbreviations of document titles with the full names of those documents and replaced the name
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  of our client with “client.” For ease of reference, we also corrected any non-substantive

  grammatical or stylistic issues in the billing entries. We likewise reviewed expenses incurred from

  Westlaw research charges and included only those related to the Relevant Motions.

         16.     The fees and expenses included in Exhibit 8 were reasonably and necessarily

  incurred in connection with the Relevant Motions. They are the type of costs typically billed to

  clients for this type of work.

         17.     As set forth more fully in CTCL’s Motion for Attorney’s Fees, the requested hourly

  rates for the work described in Exhibit 8 are reasonable for the Colorado legal market. These rates

  represent a substantial discount on KHF’s customary hourly rates. We determined the applicable

  rate for each attorney and paralegal by applying the median hourly rates charged by partners,

  associates, and paralegals in Colorado with the same years of experience, as set forth in the
                                                                                     1
  Colorado Bar Association Economics of Law Practice Survey (“CBA Survey”).

         18.     I am entering my ninth year of practice. Based on the CBA Survey, the median

  hourly billing rate for a law firm partner with between five and nine years of experience is $235.

  See Table 005, App’x A, CBA Survey.

         19.     Mr. Fisher, Ms. Coburn, Mr. Skocpol, and Ms. Webster are all entering their fifth

  year of practice. Based on the CBA Survey, the median hourly billing rate for a full-time associate

  with between four and five years of practice experience is $200. See Table 006, App’x A, CBA

  Survey.




  1
    Colorado Bar Association, 2017 Economics of Law Practice Survey, http://www.cobar.org/portals/COBAR/
  repository/2017EconomicSurvey.pdf ) (“CBA Survey”).
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         20.    Mr. Farnum is a case manager with approximately two years of experience. Based

  on the CBA Survey, the median hourly billing rate for a paralegal with one to two years of

  experience is $100. See Table 006, App’x B, CBA Survey.

         21.    Ms. Beckelman is a senior paralegal with 14 years of experience. Based on the CBA

  Survey, the median hourly billing rate for a paralegal with 10 to 14 years of experience is $120.

  See Table 003, App’x B, CBA Survey.

         I declare under penalty of perjury that the foregoing is true and correct.




   Executed on: September 3, 2021
   Washington, DC                                    Joshua Matz
